Case 0:23-cv-60050-RS Document 33 Entered on FLSD Docket 09/18/2023 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 FORT LAUDERDALE DIVISION

                                   CASE NO. 0:23-cv-60050-RS

 CHRISTOPHER OBASI, individually and
 on behalf of all others similarly situated,

         Plaintiff,

 v.

 BEDABOX LLC, a Florida Limited Liability
 Company,

         Defendant.
                                               /

          DEFENDANT’S RESPONSE TO PLAINTIFF’S LETTER REQUESTING
             CLARIFICATION [ECF NO. 31] AND LETTER “ACCEPTING”
                DEFENDANT’S SETTLEMENT OFFER [ECF NO. 29]

         Defendant, BedaBox LLC d/b/a ShipMonk (“Defendant” or “ShipMonk”), by and through

 its undersigned counsel, files this Response to Plaintiff’s Letter Requesting Clarification [ECF No.

 31] and Letter “Accepting” Defendant’s Settlement Offer [ECF No. 29] and notifies the Court that

 this matter is not settled.

         On July 25, 2023, the Parties attended an in-person settlement conference before

 Magistrate Judge Lisette M. Reid. The Parties settlement conference resulted in an impasse, as

 the Parties were unable to agree on a sum to resolve the matter. On August 21, 2023, Plaintiff

 filed a letter with the Court indicating that he had “accepted” a “partial” settlement offer made by

 Defendant. No settlement offer had been pending, and no communications with Plaintiff had taken

 place following the settlement conference. On August 23, 2023, Defendant’s counsel sent Plaintiff

 written correspondence, both by email and regular mail, to discuss his letter and to see if a

 resolution could be reached. Plaintiff did not respond to the letter. Thereafter, Defendant’s counsel
Case 0:23-cv-60050-RS Document 33 Entered on FLSD Docket 09/18/2023 Page 2 of 3

                                                                      CASE NO. 0:23-cv-60050-RS


 sent follow-up emails to Plaintiff on August 29, 2023, September 7, 2023 and September 15, 2023,

 all of which he ignored. On September 15, 2023, Defendant’s counsel left a voicemail for Plaintiff

 on the phone number provided by Plaintiff’s former counsel. The voicemail answering machine

 indicated it was, in fact, Plaintiff’s telephone number. Plaintiff never returned the call. Instead,

 he continues to send letters to the Court about the non-existent settlement.

        Consequently, and for all of the foregoing reasons, Defendant respectfully submits this

 Response to clarify the status of this matter and notifies the Court that, contrary to Plaintiff’s

 letters, there has been no settlement.

        Dated: September 18, 2023              Respectfully submitted,

                                          By: s/ Jennifer A. Schwartz
                                              Jennifer A. Schwartz, Esq. (Fla. Bar No. 502431)
                                              Email: jennifer.schwartz@jacksonlewis.com
                                              Jason A. Anon, Esq. (Fla. Bar No. 1017727)
                                              E-mail: jason.anon@jacksonlewis.com
                                              JACKSON LEWIS P.C.
                                              Two South Biscayne Boulevard, Suite 3500
                                              Miami, Florida 33131
                                              Telephone: (305) 577-7600

                                               Attorneys for Defendant

                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 18th day of September 2023, I electronically filed the foregoing

 document with the Clerk of Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record identified on the attached Service List via

 transmission of Notices of Electronic Filing generated by CM/ECF. I also certify that the

 foregoing document is being served this day on Plaintiff, who is pro se, directly via email and

 regular mail at the email address and physical address identified on the attached Service List.

                                               s/ Jennifer A. Schwartz
                                               Jennifer A. Schwartz, Esq.



                                                  2
Case 0:23-cv-60050-RS Document 33 Entered on FLSD Docket 09/18/2023 Page 3 of 3

                                                           CASE NO. 0:23-cv-60050-RS



                                SERVICE LIST

  Christopher Obasi                        Jennifer A. Schwartz, Esq.
  Email: obasinic@gmail.com                Florida Bar No. 502431
  301 N. 20th Avenue, # 6                  Email: jennifer.schwartz@jacksonlewis.com
  Hollywood, Florida 33020                 Jason A. Anon, Esq.
  Telephone: (754) 215-6846                Florida Bar No. 1017727
                                           E-mail: jason.anon@jacksonlewis.com
  Plaintiff (Pro Se)                       JACKSON LEWIS P.C.
                                           One Biscayne Tower, Suite 3500
                                           Two South Biscayne Boulevard
                                           Miami, Florida 33131
                                           Telephone: (305) 577-7600

                                           Attorneys for Defendant
 4883-1933-6576, v. 1




                                       3
